      Case: 1:22-cv-03367 Document #: 1 Filed: 06/28/22 Page 1 of 10 PageID #:1




                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

  WILLIAM WRIGLEY, JR.,                                 )
                                                        )
                                 Plaintiff,             )
                                                        )
  WEISMAN    HOLDING   CORPORATION,                     )
  HOMEWOOD HOLDING COMPANY, LLC,                        )   Case No.
  HOMEWOOD      2ND  SITE    HOLDING                    )
  COMPANY, LLC, POSEN DISPENSARY                        )
  HOLDING COMPANY, LLC, POSEN 2ND                       )
  SITE HOLDING COMPANY, LLC, COMPASS                    )
  DISPENSARY HOLDINGS, LLC, WCCC,                       )
  LLC,   and   COMPASS    DISPENSARY                    )
  MANAGEMENT, LLC                                       )
                                                        )
                                 Defendants.            )
                                                        )
                                                        )

    COMPLAINT FOR DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF

       Plaintiff William Wrigley, Jr., for his Complaint for Declaratory Judgment and Injunctive

Relief against Defendants Weisman Holding Corporation, Homewood Holding Company, LLC,

Homewood 2nd Site Holding Company, LLC, Posen Dispensary Holding Company, LLC, Posen

2nd Site Holding Company, LLC, Compass Dispensary Holdings, LLC, WCCC, LLC, and

Compass Dispensary Management, LLC, states as follows:

                                        Nature of the Case

       1.      Defendants seek to arbitrate claims against Mr. Wrigley before the American

Arbitration Association (“AAA”). But Mr. Wrigley never consented to arbitrate any claims with

Defendants, and Defendants’ asserted bases for arbitration find no support in law. Accordingly,

this is an action to enjoin, under Section 4 of the Federal Arbitration Act, 9 U.S.C. § 4, and Federal

Rule of Civil Procedure 65, arbitration proceedings Defendants wrongfully initiated against Mr.
      Case: 1:22-cv-03367 Document #: 1 Filed: 06/28/22 Page 2 of 10 PageID #:2




Wrigley, and for a declaratory judgment under the Declaratory Judgment Act, 22 U.S.C. § 2201,

and Federal Rule of Civil Procedure 57, that Mr. Wrigley is not bound to arbitrate Defendants’

purported claims against him.

       2.      On April 1, 2021, Defendants executed a Purchase Agreement with Parallel Illinois,

LLC (“Parallel IL”) and SH Parent, Inc. (“SH Parent,” and with Parallel IL, “Parallel”) (Ex. A.)

Under the terms of the Purchase Agreement, Defendants were to sell to Parallel IL six cannabis

dispensaries for a base purchase price of $100 million (subject to certain potential earn out

payments). (Id.) Mr. Wrigley was not a party to the Purchase Agreement, and did not sign it on

behalf of any party or entity. The transactions contemplated by the Purchase Agreement have not

been consummated.

       3.      On June 1, 2022, Defendants filed a Demand for Arbitration (“Demand”) with the

AAA, asserting breach of contract and fraud claims. (Ex. B.) Defendants named Parallel, Mr.

Wrigley, and James Whitcomb as respondents. Defendants also assert a claim for “fraud – piercing

the corporate veil” against Mr. Wrigley. (Id.)

       4.      On June 17, Mr. Wrigley, through counsel, sent a letter to the AAA, copying

Defendants’ counsel, informing it that he “was neither a party nor signatory to the Purchase

Agreement, and is therefore not bound by it or the arbitration clause contained therein.” (Ex. C.)

He further explained that he is “not a proper party to the” arbitration and expressly “reserve[d] all

his rights and remedies, including seeking any necessary judicial relief.” (Id.)

       5.      Because Mr. Wrigley never agreed to arbitrate any claims with Defendants, he is

not subject to arbitration before the AAA. While the Purchase Agreement contains an arbitration

provision, Mr. Wrigley was not a party or signatory to the Purchase Agreement, did not act as an

agent to either Parallel or SH Parent, or treat either Parallel IL or SH Parent as his alter ego. He



                                                 -2-
      Case: 1:22-cv-03367 Document #: 1 Filed: 06/28/22 Page 3 of 10 PageID #:3




thus is entitled to an injunction barring Defendants from maintaining arbitration proceedings

against him, and a declaration that Defendants’ claims against him are not arbitrable.

                                       Jurisdiction and Venue

       6.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a)(1)

because this is a civil action between citizens of Delaware and Illinois, on the one hand, and a

citizen of Florida, and the amount in controversy exceeds $75,000, exclusive of interest and costs.

       7.      Venue is proper in this judicial district because, pursuant to 9 U.S.C. § 4, a party

should bring a petition to enjoin arbitration in the district where the contracting parties agreed to

arbitrate any disputes between them. Here, the Purchase Agreement provides for arbitration to

take place in Cook County, Illinois.

                                            The Parties

       8.      As alleged in Defendants’ arbitration Demand, Weisman Holding Corporation is a

Delaware corporation and its address is 444 North Michigan Avenue, Suite 1200, Chicago, Illinois

60611. Its address is 444 North Michigan Avenue, Suite 1200, Chicago IL 60611.

       9.      As alleged in Defendants’ arbitration Demand, Homewood Holding Company,

LLC is a limited liability company organized under the laws of Illinois. On information and belief,

owns 100% of the issued and outstanding membership interests in an LLC that holds the license

to operate a cannabis dispensary in Illinois.      It shares an address with Weisman Holding

Corporation, and is wholly owned by Weisman Holding Corporation.

       10.     As alleged in Defendants’ arbitration Demand, Homewood 2nd Site Holding

Company, LLC is a limited liability company organized under the laws of Illinois. On information

and belief, owns 100% of the issued and outstanding membership interests in an LLC that holds




                                                -3-
      Case: 1:22-cv-03367 Document #: 1 Filed: 06/28/22 Page 4 of 10 PageID #:4




the license to operate a cannabis dispensary in Illinois. It shares an address with Weisman Holding

Corporation, and is wholly owned by Weisman Holding Corporation.

       11.     As alleged in Defendants’ arbitration Demand, Posen Dispensary Holding

Company, LLC is a limited liability company organized under the laws of Illinois. On information

and belief, owns 100% of the issued and outstanding membership interests in an LLC that holds

the license to operate a cannabis dispensary in Illinois. It shares an address with Weisman Holding

Corporation, and is wholly owned by Weisman Holding Corporation.

       12.     As alleged in Defendants’ arbitration Demand, Posen 2nd Site Holding

Company, LLC is a limited liability company organized under the laws of Illinois. On information

and belief, owns 100% of the issued and outstanding membership interests in an LLC that holds

the license to operate a cannabis dispensary in Illinois. It shares an address with Weisman Holding

Corporation, and is wholly owned by Weisman Holding Corporation.

       13.     As alleged in Defendants’ arbitration Demand, Compass Dispensary Holdings,

LLC is a limited liability company organized under the laws of Illinois. On information and belief,

owns 100% of the issued and outstanding membership interests in an LLC that holds two licenses

to operate a cannabis dispensaries in Illinois. It shares an address with Weisman Holding

Corporation, and is wholly owned by Weisman Holding Corporation.

       14.     As alleged in Defendants’ arbitration Demand, WCCC, LLC is a limited liability

company organized under the laws of Illinois. On information and belief, it is located 301

Edgewater Place, Suite 405, Wakefield, Massachusetts 01880. According to the Office of the

Illinois Secretary of State’s online database, it also shares an address with Weisman Holding

Corporation.




                                               -4-
      Case: 1:22-cv-03367 Document #: 1 Filed: 06/28/22 Page 5 of 10 PageID #:5




       15.     As alleged in Defendants’ arbitration Demand, Compass Dispensary Management,

LLC is a limited liability company organized under the laws of Illinois. On information and belief,

it has its principal office at 477 Elm Place, Highland Park, Illinois 60035.

       16.     Mr. Wrigley is a citizen and resident of Florida. Wrigley served as the Chairman

of the Board of Directors of Parallel from August 2018 until December 28, 2021. He assumed the

role of CEO in November 2018 and resigned from that position on November 19, 2021.

                                   Facts Common to All Counts

                               Parallel and SH Parent’s Operations

       17.     SH Parent is a Delaware corporation organized under the laws of the state of

Delaware. It is one of the largest privately-held multi-state cannabis companies in the United

States, with operations in Florida, Massachusetts, Texas, Pennsylvania, and Nevada.             In

conjunction with Parallel IL, it sought to operate in Illinois.

       18.     Wrigley served as a director of SH Parent from August 2018 until December 2021

and as Chairman of the Board of Directors from August 2018 to December 2021. He assumed the

role of CEO in November 2018 and resigned from that position in November 2021. Mr. Wrigley

also formerly served as the President and CEO of Parallel IL.

       19.     During Mr. Wrigley’s tenure as Chairman of the Board of Directors, the board held

regular meetings and, along with SH Parent’s officers, conducted SH Parent’s business operations,

exercising their collective business judgment.

                                     The Purchase Agreement

       20.     On April 1, 2021, Defendants entered into the Purchase Agreement with Parallel.

The Purchase Agreement specified that Parallel IL would purchase from Defendants membership

and ownership interests in six cannabis dispensaries.



                                                 -5-
      Case: 1:22-cv-03367 Document #: 1 Filed: 06/28/22 Page 6 of 10 PageID #:6




       21.     Several weeks prior to the date of the Purchase Agreement, SH Parent had entered

into a business combination agreement with non–party Special Purpose Acquisition Companies

(“SPAC”), Ceres Acquisition Corp. and affiliates (“Ceres”), with the intention of combing into a

publicly-traded company and creating publicly-traded stock in SH Parent.

       22.     The Purchase Agreement provided that the closing of the transaction would occur

as early as August 31, 2021, while also recognizing that, absent agreement of the parties to the

Purchase Agreement, the closing could occur at a date no later than April 1, 2022 (which was the

outside date in the Purchase Agreement). (Ex. A, § 1.3.)

       23.     Section 12.11 of the Purchase Agreement provides, in relevant part, that:

       Each of the parties irrevocably agrees that . . . any and all controversies and claims
       that may arise between the parties hereto concerning, arising out of or relating to
       this Agreement or any other document, instrument or agreement entered into in
       connection with this Agreement, or the breach hereof or thereof, shall be
       exclusively referred to and settled by arbitration in accordance with the Commercial
       Arbitration Rules of the American Arbitration Association.

       (Ex. A, § 12.11, at 73.)

       24.     Mr. Wrigley was not a party to the Purchase Agreement, and did not sign it in any

capacity. (See, e.g., Ex. A.)

       25.     Section 12.14 of the Purchase Agreement provides that “This agreement may only

be enforced against, and any claim or suit upon, arising out of, or related to this Agreement, or the

negotiation, execution or performance of this Agreement, may only be brought against the named

parties to this Agreement.” (Ex. B) (emphasis added). It further specifies that “No person who is

not a named party to this Agreement . . . will have or be subject to any liability or indemnification

obligation (whether in contract, tort, equity or otherwise) any claim based on, in respect of, or by

reason of, the sale and purchase of the Companies…” (Id.)




                                                -6-
      Case: 1:22-cv-03367 Document #: 1 Filed: 06/28/22 Page 7 of 10 PageID #:7




       26.      On September 30, 2021, the SPAC transaction between Parallel and Ceres was

terminated.     With the transaction called off, SH Parent did not go public as previously

contemplated.

       27.      The transactions contemplated in the Purchase Agreement have not been

consummated.

                      Defendants Unsuccessful Litigation in Cook County

       28.      On February 7, 2022, Defendants filed a Verified Complaint in the Circuit Court

of Cook County, Illinois, against SH Parent and Parallel IL alleging that Parallel breached the

Purchase Agreement by failing to close on the acquisition. The complaint asserted a claim for

specific performance of contract against Parallel, and sought a preliminary injunction. Weisman

Holding Corp., et al. v. Parallel Illinois, LLC, et al., 2022-CH-01066 (Cir. Ct. Cook. Cnty. Feb.

7, 2022).

       29.      On February 8, 2022, Defendants filed a motion for a temporary restraining order

(“TRO”) that would, among other things, enjoin Parallel from using funds to pay certain debts,

encumbering assets valued at more than $10 million or making contractual commitments of more

than $20 million. On February 16, the Circuit Court denied Defendants’ TRO motion noting,

among other things, that Defendants’ had failed to allege “that there’s any overt attempt to

frustrate this deal or defraud [Defendants].”

       30.      On April 6, 2022, Defendants voluntarily dismissed the Cook County lawsuit.

                                Defendants’ Arbitration Demand

       31.      In their Demand, Defendants allege that Parallel failed to abide by the terms of a

Purchase Agreement. (Ex. B at ¶¶ 1-8.) Defendants also allege that certain false statements were

made relating to the Purchase Agreement. (Id. ¶¶ 51-63.) Finally, Defendants allege that Parallel



                                                -7-
      Case: 1:22-cv-03367 Document #: 1 Filed: 06/28/22 Page 8 of 10 PageID #:8




is the “alter ego” of Mr. Wrigley such that he should be personally liable for any damages arising

from Defendants’ claims against Parallel. (Id. ¶¶ 78, 100.)

       32.     Defendants seek $80 million in damages, as well as any earn-out consideration they

may have earned, minus any amounts received in mitigation by selling the dispensaries, in addition

to costs and fees. (Id. at ¶¶ 50, 83, 91 and p. 22.)

       33.     Defendants allege that they may arbitrate their claims against Mr. Wrigley because

he was an “agent” of Parallel and SH Parent, and is therefore bound by the arbitration provision.

(Id. ¶ 23.) As an alternative, Defendants allege that Parallel and SH Parent are the “alter ego[s]

and façade[s]” of Mr. Wrigley. (Id. ¶¶ 78, 100.)

                                          Count I
                       (Declaratory Judgment – Against All Defendants)

       34.     Mr. Wrigley incorporates by references the allegations in Paragraphs 1–33, as

though fully set forth herein.

       35.     An actual controversy exists between Plaintiff and Defendants as to whether Mr.

Wrigley is bound by the arbitration clause of the Purchase Agreement.

       36.     Defendants allege, and Plaintiff denies, that, as a matter of law, that Mr. Wrigley is

bound by the arbitration clause of the Purchase Agreement, and that he is subject to arbitration

under the same. Moreover, Defendants allege, and Plaintiff denies, that he is bound by the

arbitration clause as an agent or alter ego of any party to the Purchase Agreement.

                                        Count II
              (Preliminary and Permanent Injunction – Against All Defendants)

       37.     Mr. Wrigley incorporates by references the allegations in Paragraphs 1–33, as

though fully set forth herein.




                                                 -8-
      Case: 1:22-cv-03367 Document #: 1 Filed: 06/28/22 Page 9 of 10 PageID #:9




        38.    Unless Defendants are enjoined from pursuing its claims in arbitration, Mr. Wrigley

will suffer irreparable harm because he will be forced to arbitrate a dispute he has not agreed to

arbitrate.

        39.    If the arbitration were to proceed, Mr. Wrigley would incur the substantial time and

expense in defending itself in the arbitration proceeding, or risk an adverse outcome in those

proceedings. Being compelled to arbitrate a dispute where the parties have not agreed to arbitrate

constitutes irreparable harm.

        40.    The balance of equities here tips decidedly in Petitioner’s favor because Mr.

Wrigley is neither a party nor a signatory to the Purchase Agreement, is not an agent of a signatory,

is not an alter ego of a signatory, and has not otherwise agreed to arbitrate claims arising from,

connected with, or related to the Purchase Agreement.

        41.    The public interest would be served by enjoining Defendants from further

prosecuting their claims against Mr. Wrigley in an arbitration proceeding to which he has not, and

does not, consent.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff William Wrigley, Jr. respectfully requests that the Court enter the

following relief:

        A.     As to Count I, a declaratory judgment that Mr. Wrigley is not bound to arbitrate the

claims asserted against him by Defendants.

        B.     As to Count II, a preliminary and permanent injunction enjoining Defendants from

prosecuting arbitral proceedings against Mr. Wrigley.




                                                -9-
    Case: 1:22-cv-03367 Document #: 1 Filed: 06/28/22 Page 10 of 10 PageID #:10




       C.      As to Counts I and II, an award to Mr. Wrigley the costs and fees associated with

the prosecution of this action, including reasonable attorneys’ fees, together with such other,

further or different relief as this Court deems just and proper in the circumstances.



Dated: June 28, 2022

                                             /s/ Craig C. Martin
                                             Craig C. Martin
                                             Aaron J. Hersh
                                             300 N. LaSalle Drive
                                             Chicago, IL 60654
                                             Telephone: (312) 728-9000
                                             cmartin@willkie.com
                                             ahersh@willkie.com

                                             Sameer Advani (pro hac vice forthcoming)
                                             Brittany M. Wagonheim (pro hac vice forthcoming)
                                             787 Seventh Avenue
                                             New York, NY 10019
                                             Telephone: (212) 728-8000
                                             sadvani@willkie.com
                                             bwagonheim@willkie.com

                                             Counsel for Plaintiff William Wrigley, Jr.




                                               - 10 -
